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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF SOUTH DAKOTA
                            NORTHERN DIVISION



  UNITED STATES OF AMERICA,               CR o2/-/^^

                    Plaintiff,            REDACTED INDICTMENT

       vs.                                Abusive Sexual Contact
                                          18 U.S.C. §§ 1153, 2244(b), and
  RICHARD REUBEN SIMON,                   2246(3)

                    Defendant.            Assault of a Federal Employee
                                          18U.S.C. § lll(a)

                                          Assault with Intent to Commit Felony
                                          18 U.8.C. §§ 113(a)(2) and 1153



      The Grand Jury charges:

                                   COUNT 1

      On or about the 16th day of August, 2021, in Roberts County, in Indian

country, in the District of South Dakota, the Defendant, Richard Reuben Simon,


an Indian, did knowingly engage in, and attempt to engage in, sexual contact


with Tenecia Lancaster without her permission, all in violation of 18 U.S.C. §§


1153, 2244(b), and 2246(3).

                                   COUNT 2

      On or about the 16th day of August, 2021, in the District of South Dakota,

the Defendant, Richard Reuben Simon, did forcibly assault, resist, oppose,


impede, intimidate, and interfere with Tenecia Lancaster, with such acts


involving physical contact, while Tenecia Lancaster was employed as a federal


health care professional with the Indian Health Service, U.S. Department of
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Health and Human Services, assigned to perform health care functions, while


Tenecia Lancaster was engaged in the performance of her official duties, all in


violation of 18 U.S.C. §lll(a).

                                  COUNT 3

      On or about the 16th day of August, 2021, in Roberts County, in Indian

Country, in the District of South Dakota, the Defendant, Richard Reuben Simon,

an Indian, did unlawfully assault Tenecia Lancaster, with the intent to commit


a felony, that is sexual contact, and said assault did occur while he was


committing the federal felony of sexual contact, all in violation of 18 U.S.C.


§§ 113(a)(2) and 1153.

                                          A TRUE BILL:

                                          Name Redacted

                                          Foreperson


DENNIS R. HOLMES
Acting United States Attorney
